         Case 1:22-cv-06918-DG-TAM                              Document 55-7                   Filed 01/06/25                            Page 1 of 1 PageID #:
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Form   8879-CORP                                 E-file Authorization for Corporations
                             For calendar year 20 22 , or tax year beginning                        , 20        , ending                            , 20
(December 2022)                                                                                                                                                     OMB No. 1545-0123
                                                Use for efile authorizations for Form 1120, 1120-F or 1120S.
Department of the Treasury                            Do not send to the IRS. Keep for your records.
Internal Revenue Service                       Go to www.irs.gov/Form8879CORP for the latest information.
Name of corporation                                                                                                                 Employer identification number
HAPPY STREET TOO LLC
 Part I Information (Whole dollars only)

   1     Total income (Form 1120, line 11) .            .   .   .   .   .   .   .   .   .   .   .     .     .    .   .     .    .    .     .    .   .      .       1        210,234.

   2     Total income (Form 1120-F, Section II, line 11)                .   .   .   .   .   .   .     .     .    .   .     .    .    .     .    .   .      .       2

   3     Total income (loss) (Form 1120-S, line 6)              .   .   .   .   .   .   .   .   .     .     .    .   .     .    .    .     .    .   .      .       3
 Part II        Declaration and Signature Authorization of Officer. Be sure to get a copy of the corporation’s return.
Under penalties of perjury, I declare that I am an officer of the above corporation and that I have examined a copy of the corporation’s
electronic income tax return and accompanying schedules and statements, and to the best of my knowledge and belief, they are
true, correct, and complete. I further declare that the amounts in Part I above are the amounts shown on the copy of the corporation’s
electronic income tax return. I consent to allow my electronic return originator (ERO), transmitter, or intermediate service provider to
send the corporation’s return to the IRS and to receive from the IRS (a) an acknowledgment of receipt or reason for rejection of the
transmission, (b) the reason for any delay in processing the return or refund, and (c) the date of any refund. If applicable, I authorize
the U.S. Treasury and its designated Financial Agent to initiate an electronic funds withdrawal (direct debit) entry to the financial
institution account indicated in the tax preparation software for payment of the corporation’s federal taxes owed on this return, and
the financial institution to debit the entry to this account. To revoke a payment, I must contact the U.S. Treasury Financial Agent at
1-888-353-4537 no later than 2 business days prior to the payment (settlement) date. I also authorize the financial institutions involved
in the processing of the electronic payment of taxes to receive confidential information necessary to answer inquiries and resolve
issues related to the payment. I have selected a personal identification number (PIN) as my signature for the corporation’s electronic
income tax return and, if applicable, the corporation’s consent to electronic funds withdrawal.

Officer’s PIN: check one box only

              I authorize                                                                                  to enter my PIN                                             as my signature
                                                      ERO firm name                                                                      do not enter all zeros
              on the corporation’s electronically filed income tax return.

              As an officer of the corporation, I will enter my PIN as my signature on the corporation’s electronically filed income tax
              return.
Officer’s signature                                                                     Date                                    Title          PRESIDENT

Part III        Certification and Authentication


ERO’s EFIN/PIN. Enter your six-digit EFIN followed by your five-digit self-selected PIN.
                                                                                                                                                        do not enter all zeros

I certify that the above numeric entry is my PIN, which is my signature on the electronically filed income tax return for the corporation
indicated above. I confirm that I am submitting this return in accordance with the requirements of Pub. 3112, IRS e-file Application
and Participation, and Pub. 4163, Modernized e-File (MeF) Information for Authorized IRS e-file Providers for Business Returns.


ERO’s signature                                                                                                          Date        03/29/2023


                                           ERO Must Retain This Form — See Instructions
                                   Do Not Submit This Form to the IRS Unless Requested To Do So

For Paperwork Reduction Act Notice, see instructions.                           REV 03/02/23 PRO                                                           Form 8879-CORP (12-2022)
BAA
